        Case 4:95-cr-40083-JPG                        Document 418 Filed 07/27/10                       Page 1 of 3            Page ID
                                                                #366
~AO 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 1



                                     UNITED STATES DISTRICT COURT                                                                        ~
                                                          Southern District of Illinois                                          .//I            ~~A
                                                                           4/J/eA/ 1e4                             ~oZ(~~            ~                 V
        UNITED STATES OF AMERICA                                         Jui:lgment in a Criminal Case                   7'.Iy~~ v       <;>
                       v.                                                (For Revocation of Probation or Supervised Re1eas6~"II;C~ Ol            <~
                BOBBY PURDIMAN                                                                                                11IJ: fS,.~fS,.~
                                                                                                                                 0111 I'C'J/OJ-
                                                                                                                                      O~~ O~OO
                                                                         Case No. 4:95CR40083-007-JPG                                      /O~ /«~J?,.
                                                                         USM No. 03668-025                                                            0/0'
                                                                          Melissa A. Day, AFPD
                                                                                                  Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           as alleged in petition            of the term of supervision.
o   was found in violation of condition(s)             _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                              Violation Ended
Statutory                       The defendant committed the offense of false statements                       04/06/2010



statutory                       The defendant tested positive for marijuana



       The defendant is sentenced as provided in pages 2 through _---'3'--_ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa\d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes III
economIc cIrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 9053                       07/27/2010

Defendant's Year of Birth:          1976

City and State of Defendant's Residence:
Cairo, IL 62914
                                                                          J. Phil Gilbert                               District Judge
                                                                                                 Name and Title of Judge
          Case 4:95-cr-40083-JPG                      Document 418 Filed 07/27/10            Page 2 of 3      Page ID
AO 245D                                                         #367
          (Rev. 12/07) Judgment in a Criminal Case for Revocations
          Sheet lA

                                                                                            Judgment-Page _..=2_    of    3
DEFENDANT: BOBBY PURDIMAN
CASE NUMBER: 4:95CR40083-007-JPG

                                                     ADDITIONAL VIOLATIONS

                                                                                                                   Violation
Violation Number              Nature of Violation                                                                  Concluded
Standard # 2                  The defendant failed to submit written reports                                    01/31/2010



Standard # 3                  The defndant failed to provide truthful information to his probation officer      03/11/2010



Standard # 6                  The defendant failed to notify probation of termination of his employment         05/17/2009



Standard # 11                 The defendant failed to notify probation within 72 hours of being questioned/        03/25/2010

                               ~y\pOHce.
Special                        The defendant failed to report for drug treatment as directed by probation          02/24/2010



Special                        The defendant was unaccountable while on home confinement.                          08/26/2009
               Case 4:95-cr-40083-JPG                     Document 418 Filed 07/27/10              Page 3 of 3           Page ID
 AO 245D       (Rev. 12/07) Judgment in a Criminal Case for Revocations
               Sheet 2- Imprisonment
                                                                    #368
                                                                                                 Judgment -   Page   _-"-3_ of     3
 DEFENDANT: BOBBY PURDIMAN
 CASE NUMBER: 4:95CR40083-007-JPG


                                                                   IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total tenn of :
24 months




       o The court makes the following recommendations to the Bureau of Prisons:



       o The defendant is remanded to the custody of the United States Marshal.
        tI The defendant shall surrender to the United States Marshal for this district:
      JII- ~ at 09:00                          ~ a.m.       0 p.m.      on      07/09/2010
                                                                              ---------------------------
           o     as notified by the United States Marshal.

       o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o     before 2 p.m. on
           o     as notified by the United States Marshal.
           o     as notified by the Probation or Pretrial Services Office.

                                                                          RETURN

 I have executed this judgment as follows:




           Defendant delivered on                                                     to

 at    _____________________________ with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL

                                                                             By _________________________________________
                                                                                           DEPUTY UNITED STATES MARSHAL
